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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO


 KEVIN OMAR MATIAS ROSSELLO,
 individually and on behalf of all others          CIVIL NO.:
 similarly situated,

           Plaintiffs,
                                                   FAIR LABOR STANDARDS ACT
 v.
                                                   JURY TRIAL DEMANDED
 EPOCH LLC; FOT INVESTMENTS LLC
 D/B/A DOMINO’S PIZZA; CLUTCH
 CONSULTING LLC,
          Defendants.



                                CLASS ACTION COMPLAINT

         COMES NOW Plaintiff, by and through their attorneys, EXCOLO LAW, PLLC, and

complain and allege on personal knowledge as to Plaintiff’s own acts, and on information and

belief as to all other allegations, for their class action complaint against EPOCH LLC, FOT

INVESTMENTS LLC, and CLUTCH CONSULTING LLC, and states as follows:

1. This is a class action brought by Plaintiff Kevin Omar Matias Rossello (“Matias Rossello”) on

      behalf of himself and all other similarly situated current and former employees who work or

      have worked as delivery drivers of Domino’s Pizza in Puerto Rico. This action is brought

      against Epoch LLC, FOT Investments LLC, doing business as Domino’s Pizza, and Clutch

      Consulting LLC, for withholding adequate pay from their employee delivery drivers.

      Defendants have failed to reimburse Plaintiff and the Class for the costs of the use of their

      vehicles. Accordingly, Defendants have failed properly compensate Plaintiff and the Class at

      the federally mandated minimum wage rate for all hours worked in a workweek in violation of

      the Fair Labor Standards Act of 1938 (“FLSA”), as well as pursuant to Puerto Rico wage laws.


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2. Plaintiff Matias Rossello brings this action on behalf of himself and all other similarly situated

   current or former employees pursuant to Fed. R. Civ. P. 23. The Class is defined as:

               All persons who have worked for Epoch LLC, FOT Investments
               LLC, doing business as Domino’s Pizza, and Clutch Consulting
               LLC in Puerto Rico as delivery drivers at any time since April 4,
               2016 who were denied or insufficiently paid minimum wage due to
               Defendants’ failure to properly reimburse their employees for
               vehicle expenses associated with their duties of employment.

3. Plaintiff Matias Rossello brings this action on behalf of himself and all other similar situated

   current or former employees pursuant to Fed. R. Civ. P. 23 for the purposes of obtaining relief

   under the FLSA for unpaid minimum wages, damages, costs, attorneys’ fees, civil penalties,

   declaratory and/or injunctive relief, and/or any such other relief the Court may deem

   appropriate.

                                            PARTIES
4. Plaintiff Kevin Omar Matias Rossello is an adult who is a citizen and resident of Mayaguez,

   Puerto Rico, who works as a Pizza Delivery Driver for Domino’s Pizza and who has been

   severely affected by Defendants lack of adequate pay and/or reimbursement for the vehicle

   expenses associated with his employment, including gasoline and routine maintenance of his

   vehicle.

5. Defendant Epoch LLC (herein after “Epoch”), is a domestic limited liability corporation,

   which does business under the commercial name Domino’s Puerto Rico. Epoch is the Master

   Franchisee in Puerto Rico of the main corporation Domino’s Pizza. Epoch owns around 39

   stores, for which in total there are employed some 600 to 700 employees. The resident agent

   for Epoch, as listed in the Corporate Registry of Puerto Rico, is Epoch President Edward

   Lieberman, who can be served and contacted at 655 Marginal del Parque, Los Colobos,

   Carolina, Puerto Rico 00987-2502.

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6. Defendant FOT Investments LLC (herein after “FOT Investments”) is a domestic limited

   liability corporation, which does business under the commercial name Domino’s Pizza. FOT

   Investments is a franchisee of Domino’s Pizza who owns four (4) Domino’s Pizza stores in

   Puerto Rico. FOT Investments currently employs around 100 staff. The resident agent for

   FOT Investments, as listed in the Corporate Registry, is FOT Investments, LLC, which can be

   served and contacted at 655 Marginal del Parque, Area Los Colobos, Carolina, Puerto Rico

   00987.

7. Defendant Clutch Consulting LLC (herein after “Clutch Consulting”) is the administrator of

   the Domino’s Pizza stores within Puerto Rico. Clutch Consulting is a domestic limited liability

   corporation which its resident agent, as listed in the Corporate Registry of Puerto Rico, is

   Carmen Cedré, who can be served and contacted at Street Almendro #1, Apt. 102, San Juan,

   Puerto Rico 00913.

8. When in this Complaint reference is made to any act of the Defendants, such shall be deemed

   to mean that officers, directors, agents, employees, or representatives of the Defendants named

   in this lawsuit committed or authorized such acts, or failed or omitted to adequately supervise

   or properly control or direct their employees while engaged in the management, direction,

   operation or control of the affairs of the Defendants, and did so while acting within the scope

   of their employment.

                                VENUE AND JURISDICTION

9. This Court has original jurisdiction of this matter under 28 U.S.C. §1331 as this case presents

   federal questions brought under the Fair Labor Standard Act. This case is brought under 29

   U.S.C §201, et seq., and 29 C.F.R. § 531.35 of the FSLA.




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10. This Court has supplemental jurisdiction over the Puerto Rico state law claims purusuant to 28

   U.S.C. § 1367, as they are so related in this action within such original jurisdiction that they

   form part of the same case or controversy under Article III of the United States Constitution.

11. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and (c), as a substantial

   part of the events or omissions giving rise to the claims occurred in this district, and Defendants

   have substantial and systematic contacts in this district. Defendants are corporations who are

   doing business in the Commonwealth of Puerto Rico. All the geographical areas from which

   Defendants benefited are within the scope if the District Court of Puerto Rico

                 FACTUAL ALLEGATIONS RELATED TO ALL COUNTS

12. Upon information and belief, Epoch LLC is an employer subject to the Fair Labor Standards

   Act as it is engaged in interstate commerce. Specifically, it obtained a franchise from Domino’s

   Pizza LLC or Domino’s Pizza Franchising, LLC, both located in Michigan, to do business in

   Puerto Rico. Alternatively, upon information and belief Epoch LLC has annual sales of

   $500,000 or more.

13. Upon information and belief, FOT Investments LLC is an employer subject to the Fair Labor

   Standards Act as it is engaged in interstate commerce. Specifically, it obtained a franchise from

   Domino’s Pizza LLC or Domino’s Pizza Franchising, LLC, both located in Michigan, to do

   business in Puerto Rico. Alternatively, upon information and belief Epoch LLC has annual

   sales of $500,000 or more.

14. To the extent Clutch Consulting LLC is the administrator of the Domino’s Pizza stores within

   Puerto Rico, it is deemed an employer or at least a joint employer with both Epoch LLC and

   FOT Investments LLC. To the extent Epoch LLC and FOT Investments LLC are employers

   subject to the Fair Labor Standards Act, so is Clutch Consulting LLC.



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15. Plaintiff Kevin Omar Matias Rossello started working for Domino’s Pizza in Mayaguez,

   Puerto Rico, on December 6, 2016 as a pizza delivery driver.

16. Under his employment contract, Matias Rossello was to be paid an hourly rate of $7.25 per

   hour, plus an additional $1 for each delivery Matias Rossello made. Additionally, Defendants

   required Matias Rossello, as a condition of employment, to use his own vehicle to deliver the

   store products, and cover his own expenses associated with operating that vehicle.

17. Defendants do not, and have not ever, covered any maintenance of the employee delivery

   drivers’ vehicles, nor do Defendants reimburse the employee delivery drivers for any gasoline

   expenses.

18. In the past, Defendants required and used a mileage tracking application for their employee

   delivery drivers. The employee delivery driver would simply start the application at the

   beginning of each delivery, and the application would calculate the mileage driven on each

   delivery.   However, Defendants have since deactivated or discontinued the use of this

   application.

19. For each delivery Plaintiff Matias Rossello makes, Plaintiff receives only $1 in reimbursement.

   This $1 reimbursement rate does not increase or decrease depending on the mileage or distance

   the delivery covers. Even if Plaintiff were to drive ten miles round-trip for a delivery, Plaintiff

   would still receive the same $1 reimbursement.

20. In many instances, Plaintiff is required to cover vast distances for each delivery, as the store

   he works for is the only Domino’s Pizza in the city of Mayaguez.

21. Normally, the average tips that Plaintiff Matias Rossello can receive from clients in a week is

   $23.




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22. Puerto Rico is non-incorporated United States Territory, where many of the federal rules and

   regulations apply the same way as it does to a state.

23. Many businesses within the United States have moved or established offices and locations in

   Puerto Rico because they have found that the market in Puerto Rico is very similar to the one

   in the United States. Defendants are one such example, doing business under the commercial

   name Domino’s Pizza. The name brand “Domino’s Pizza” has been a great success within the

   Puerto Rico market.

24. Businesses operating within Puerto Rico, just as businesses within any other state within the

   United States of America, have to comply with the provisions of the Fair Labor Standards Act

   of 1938, 29 U.S.C §201, et seq.

25. Here, all of Defendants’ stores use drivers to deliver pizza and other items from their menus

   directly to clients. These drivers, upon becoming Defendants’ employees, are required to have

   and maintain their own vehicles to deliver the Defendants’ products.

26. The delivery vehicle that each driver uses is property of the employee delivery driver

   themselves and not that of the Defendants.

27. As a condition of employment, employee delivery drivers are at all times required to have

   vehicles, and similarly that such vehicles meet the requirements that Defendants have

   established.

28. Defendants required Plaintiff and the Class to maintain and pay for safe, legally-operable, and

   insured automobiles when delivering pizza and other food items while working as employee

   delivery drivers.




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29. As employee delivery drivers for Defendants, Plaintiff and the Class have incurred costs for

   gasoline, vehicle parts and fluids, repair and maintenance services, insurance, depreciation,

   and other expenses (collectively “automobile expenses”) while working for Defendants.

30. As employee delivery drivers for Defendants, Plaintiff and the Class were not reimbursed for

   their deliveries based upon the number of miles driven for each delivery. As employee delivery

   drivers for Defendants, Plaintiff and the Class were not reimbursed for any of their automobile

   expenses incurred during their course of employment. Rather, Defendants only reimbursed

   Plaintiff and the Class $1 per delivery, no matter the distance driven, or the expense incurred

   by Plaintiff and the Class.

31. To date, the reimbursements given to Plaintiff and the Class for each delivery have not been

   reasonable approximations of either the actual mileage driven or the other automobile expenses

   incurred by Plaintiff and the Class in the course of performing their job duties as employee

   delivery drivers for Defendants.

32. To date, Plaintiff and the Class has incurred actual automobile expenses in the course of

   performing their job duties as employee delivery drivers for Defendants, and such expenses

   incurred have exceeded and continue to exceed the $1 per trip reimbursement provided by

   Defendants.

33. The Fair Labor Standards Act establishes a minimum hourly wage of $7.25 per hour worked.

   29 U.S.C. § 206(a). Defendants are obligated to pay their employees at least this amount per

   hour worked. The FLSA permits employers to pay tipped employees an hourly rate below the

   federal minimum only if the employee receives at least $30 in tips monthly, because with this

   amount, the wage would equal the federal minimum. 29 C.F.R § 531.56. If the employee does




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   not receive more than $30 a month in tips, the employer has an obligation paying the employee

   the federal minimum wage. Id.

34. Pursuant to § 531.56, specifically for tipped employees, employers may take a tip credit toward

   its minimum wage obligation for tipped employees equal to the difference between the required

   cash wage (which must be at least $2.13) and the federal minimum wage (currently $7.25).

   However, employers must provide oral or written notice to tipped employees of the use of the

   tip credit in advance. 29 C.F.R. § 531.59(b). Employers using the tip credit must be able to

   show that tipped employees receive at least the minimum wage when direct wages and the tip

   credit amount are combined. If the employee’s tips combined with the direct wages do not

   equal the minimum wage, the employer must make up the difference during the pay period.

35. The Commonwealth of Puerto Rico does not have a separate state minimum hourly rate. If the

   employer hasn’t established a higher pay rate than the federal minimum hourly rate, FLSA is

   the governing law for Puerto Rico.

36. According to the IRS, the standard mileage reimbursement rate for employees for use in

   computing the costs of operating an automobile for business purposes in 2019 is 58 cents per

   mile. In 2018, the IRS rate was 54.5 cents per mile. In 2017, the IRS rate was 53.5 center per

   mile. In 2016, the IRS rate was 54 cents per mile.

37. In this case, while Plaintiff and the Class as employee delivery drivers earn enough tips to

   qualify as “tipped employees” under the FLSA, Defendants have not provided oral or written

   notice to Plaintiff and the Class that Defendants are using the tip credit provisions established

   in § 531.56. Accordingly, Defendants are obligated to ensure that Plaintiff and the Class earn

   the federal minimum wage of $7.25 per hour pursuant to 29 U.S.C. § 206(a).




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38. Defendants have failed, and continue to fail, to pay Plaintiff and the Class the required federal

   minimum wage of $7.25 per hour. Defendants require Plaintiff and the Class cover their own

   costs associated with gasoline and other vehicle expenses. While Defendants pay Plaintiff and

   the Class a base hourly rate, plus a $1 per delivery reimbursement, factoring together all of the

   expenses Plaintiff and the Class are required to cover, and deducting those expenses from the

   pay Plaintiff and the Class receive from Defendants, ultimately, Defendants pay Plaintiff and

   the Class below the federal minimum wage.

39. Taken together, when evaluating Plaintiff’s wage of $7.25 per hour, in addition to the $1 per

   delivery reimbursement rate he receives from Defendants, coupled with the costs associated

   with maintaining and operating his vehicle as required by Defendants, Defendants are

   drastically underpaying Plaintiff below the federal minimum wage in violation of the FLSA.

40. Plaintiff’s experiences as an employee delivery driver for Defendants are typical of the

   experiences of the rest of the Class.

41. Defendants failed and continue to fail to pay Plaintiff and the Class an adequate mileage rate,

   gas reimbursement, or other method of covering vehicle expenses, or simply did not pay

   Plaintiff and the Class any amount at all. This failure results in Plaintiff and all other Class

   Members being paid at an hourly pay rate lower than the federally mandated minimum wage

   established under FLSA.

42. The amount of money Plaintiff and the Class receive in reimbursement for each delivery is

   vastly less than the costs and expenses associated with operating an automobile for business

   purposes. The $1 per delivery that each employee delivery driver receives from Defendants is

   drastically less than the IRS recommended mileage reimbursement rate. Plaintiff and the

   Class’s costs and expenses of maintaining and operating a vehicle far exceed the minimum



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   wage and reimbursement rate provided to Plaintiff and the Class. Accordingly, Plaintiff and

   the Class, as employee delivery drivers, are paid less than minimum wage.

43. Defendants directly benefit from this failure to pay, as said failure requires Plaintiff and Class

   Members take money from their own weekly pay to cover mileage, gas, and other work related

   automobile expenses. This puts the employee delivery driver not only in a disadvantage, but it

   goes as far as making each employee’s net pay well below the federal minimum hourly rate.

   Defendants are essentially offsetting their business costs onto the employee, making the

   employee responsible for the costs and expenses associated with the operation of Defendants’

   business.

44. Further, by requiring Plaintiff and the Class to maintain and operate their own vehicles, without

   providing any realistic reimbursement to cover the associated costs, Defendants are profiting

   off of Plaintiff and the Class in the form a kick-back, forbidden by 29 C.F.R. § 531.35.

45. 29 C.F.R. § 531.35 states:

               Whether in case or in facilities, “wages” cannot be considered to
               have been paid by the employer and received by the
               employee unless they are paid finally and unconditionally or “free
               and clear.” The wage requirements of the Act will not be met where
               the employee “kicks-back” directly or indirectly to the employer or
               to another person for the employer's benefit the whole or part of the
               wage delivered to the employee. This is true whether the “kick-
               back” is made in cash or in other than cash. For example, if it is a
               requirement of the employer that the employee must provide tools
               of the trade which will be used in or are specifically required for the
               performance of the employer's particular work, there would be a
               violation of the Act in any workweek when the cost of such tools
               purchased by the employee cuts into the minimum or overtime
               wages required to be paid him under the Act.

46. Here, it is evident that Defendants are in violation of the kick-back provisions of 29 C.F.R. §

   531.35.



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47. Defendants require that Plaintiff and the Class maintain and operate their own vehicles in order

   to be employed by Defendants. Defendants require Plaintiff and the Class to cover all of their

   own automobile expenses.

48. An automobile is a tool of the trade of a delivery driver, which is to be used in or specifically

   required by Defendants for the delivery of products in the course of employment.

49. As Defendants require Plaintiff and the Class to maintain and operate their own vehicles, they

   are essentially putting the costs and expenses associated with delivery of the pizza on to the

   employee delivery driver.

50. By requiring Plaintiff and the Class to maintain and operate their own vehicles, Defendants are

   requiring Plaintiff and the Class to “kick-back” directly or indirectly to Defendants for

   Defendants’ benefit. Given that Plaintiff and the Class are not adequately compensated for

   their mileage and other costs associated with operating and maintaining a vehicle for business

   purposes, this benefit conferred directly on Defendants is derived in whole or in part from the

   wage delivered to the employee.

51. Defendants violate 29 C.F.R. § 531.35 each workweek, as the costs and expenses associated

   with maintaining, operating, and driving their automobiles in the course of employment as

   delivery drivers cuts into the minimum or overtime wages required to be paid to them under

   the Act. Accordingly, Defendants are in violation of 29 C.F.R. § 531.35.

52. Plaintiff and the Class, as employee delivery drivers for Defendants, have been, and will

   continue to be, injured by Defendants wrongful violations of the FLSA.

                                CLASS ACTION ALLEGATIONS

53. Plaintiff brings this suit as a class action on behalf of himself and on behalf of other

   similarly situated persons pursuant to Fed. R. Civ. P. 23(a), 23(b)(2), and/or 23(b)(3).



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   Subject to additional information obtained through further investigation and/or discovery,

   the foregoing definition of the Classes may be expanded or narrowed. This action is

   brought by named Plaintiff Kevin Omar Matias Rossello on behalf of all individuals who

   are or were employee delivery drivers of Defendants and were denied or insufficiently

   paid minimum wage due to Defendants’ failure to properly reimburse their employees.

   The proposed Classes are defined as follows:

               All persons who have worked for Epoch LLC, FOT Investments
               LLC, doing business as Domino’s Pizza, and Clutch Consulting
               LLC in Puerto Rico as delivery drivers at any time since April 4,
               2016 who were denied or insufficiently paid minimum wage due
               to Defendants’ failure to properly reimburse their employees for
               vehicle expenses associated with their duties of employment.

54. Excluded from the Class are Defendants; any entity in which Defendants have a controlling

   interest; any of its parents, subsidiaries, affiliates, officers, directors, employees and members

   of their immediate families; members of the federal judiciary, and counsel for the parties.

55. Plaintiff reserves the right to expand, limit, modify, or amend this class definition, including

   the addition of one or more subclasses, in connection with Plaintiff’s motion for class

   certification, or at any other time, based on, inter alia, changing circumstance and/or new

   facts obtained during discovery.

56. Numerosity: This Class is estimated to be composed of hundreds of current and former

   employees who were denied access to federally mandated minimum wage by Defendants,

   and is therefore so numerous that joinder of all members is impracticable. The disposition of

   their claims through this class action will benefit all Class Members, the parties, and the

   Courts, and is the most practical method for Plaintiff to challenge the policies, procedures,

   and practices of Defendants.

57. Existence and Predominance of Common Questions of Fact and Law: There are questions of

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   law or fact common to the members of the class such that common questions predominate

   over questions affecting only individual members. Individual questions do not predominate

   over common questions because:

           A. Each member of the Class was required to use their own, and maintain for

               operation, vehicle during the course of their employment, and subsequently

               shoulder the burden of the expenses incurred with operation of such vehicle, in the

               same or a substantially similar manner from Defendant;

           B. Each member of the Class, as an employee delivery driver of Defendants, was

               improperly reimbursed for their expenses associated with the costs of employment

               by Defendants; and

           C. Defendants denied each member of the Class access to federally mandated

               minimum wage, according to Defendants’ fraudulent and deceptive policies,

               practices, and customs to deprive Plaintiff and the Class from necessary

               reimbursements for their costs associated with employment.

58. Furthermore, to assess each individual claim, the only necessary assessment is whether a

   Member of the Class was denied access to federally mandated minimum wage. Thus,

   computation of damages for the Class can be readily conducted.

59. There is a well-defined community of interest in questions of law and fact affecting the Class.

   These questions of law and fact predominate over individual Class Members, including, but

   not limited to, the following:

           A. Whether, during the Class Period, Defendants unreasonably denied Plaintiff and

               the Class access to minimum wage;




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           B. Whether Defendants drastically underpaid reimbursement rates associated with

               Plaintiff and the Class’s employment;

           C. Whether Plaintiff and the Class incurred automobile expenses at a rate that

               exceeded the reimbursement rate given to them by Defendants;

           D. Whether Defendants are likely to continue their policy, practice or custom denying

               Plaintiff and the Class minimum wage as employee delivery drivers; and

           E. Whether Plaintiff and Class Members are entitled to an award of reasonable

               attorney’s fees, pre-judgment interest and costs of suit.

60. Typicality: The claims of the Class Representative are typical of, and not antagonistic to, the

   claims, violations of law, and resulting harms suffered by all Class members. Plaintiff and the

   Class have all been deprived of (or were likely to be deprived of) federal minimum wage by

   Defendants’ fraudulent and deceptive underpayment.

61. Adequacy: The Plaintiff Class Representative will fairly and adequately assert and protect the

   interests of the Class. Plaintiff’s counsel knows of no conflicts of interest between the Class

   Representative and absent Class members with respect to the matters at issue in this litigation.

   The Class Representative will vigorously prosecute the suit on behalf of the Class, and the

   Class Representative is represented by experienced counsel. Plaintiff and the Class are

   represented by attorneys with substantial experience and expertise in complex and class

   action litigation. Plaintiff’s attorneys have identified and investigated the claims in this action

   and have committed sufficient resources to represent the Class.

62. Superiority: The maintenance of the action as a class action will be superior to other available

   methods of adjudication in promoting the convenient administration of justice. Because of

   the modest size of individual Class Members’ claims, few, if any, Class Members could afford


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   to seek legal redress of the wrongs complained herein on an individual basis. The prosecution

   of separate actions by individual members of the Class could result in inconsistent or varying

   adjudications with respect to individual members of the Class. Absent class action, Plaintiff

   and Class Members would likely not recover, or would not likely have the chance to recover,

   the requested relief, and Defendants will be permitted to retain the proceeds of its misdeeds.

63. All Class Members, including Plaintiff, were exposed to one or more instances of Defendants’

   failure to pay minimum wage. Due to the scope and extent of Defendants’ consistent scheme,

   it can reasonably be inferred that such policy, practice, or custom was uniformly applied to

   all Class Members.

64. Plaintiff is informed and believes that Defendants keep extensive computerized records of all

   employee delivery drivers, deliveries those drivers make, customer addresses associated with

   those deliveries, and the sales of the products themselves. Defendants have one or more

   databases through which a significant majority of Class Members may be identified and

   ascertained, and it maintains contact information, including email and home mailing

   addresses, through which notice of this action could be disseminated in accordance with due

   process requirements.

65. A class action is an appropriate and superior method for the fair and efficient adjudication of

   the controversy given the following factors:

           A. Common questions of law and/or fact predominate over any individual questions

               that may arise, and, accordingly, there would accrue enormous economies to both

               the Court and the Class in litigating the common issues on a class wide basis instead

               of on a repetitive individual basis;




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           B. Class Members’ individual damage claims are too small to make individual

               litigation an economically viable alternative;

           C. Despite the relatively small size of individual Class Members’ claims, their

               aggregate volume, coupled with the economies of scale inherent in litigating similar

               claims on a common basis, will enable this case to be litigated as a class action on

               a cost-effective basis, especially when compared with repetitive individual

               litigation; and

           D. No unusual difficulties are likely to be encountered in the management of this class

               action in that all questions of law and/or fact to be litigated at the liability stage are

               common to the Class.

66. To the best of Plaintiff’s knowledge, no other action is pending on the subject matter of this

   case in any Court.

67. As such, Plaintiff seeks class certification under F.R.C.P. 23.

                                     CAUSES OF ACTION

                                    COUNT I
 VIOLATIONS OF THE FAIR LABOR STANDARDS ACT OF 1938, 29 U.S.C. § 206, et
                                       seq.
             Failure to Pay Plaintiff and the Class Minimum Wage
                            (Against All Defendants)

68. Plaintiff incorporates by reference each and every preceding paragraph and allegation

   contained in this complaint as if fully copied and set forth at length herein.

69. At all times relevant, Plaintiff and the Class have been entitled to the rights, protections, and

   benefits provided under the FLSA, 29 U.S.C. § 201, et seq.

70. At all times relevant, Defendants have been and continue to be an enterprise engaged in

   commerce within the meaning of 29 U.S.C. § 203(s)(1).


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71. The Fair Labor Standards Act establishes a minimum hourly wage of $7.25 per hour worked.

   29 U.S.C. § 206(a). Defendants are obligated to pay their employees at least this amount per

   hour worked. The FLSA permits employers to pay tipped employees an hourly rate below the

   federal minimum only if the employee receives at least $30 in tips monthly, because with this

   amount, the wage would equal the federal minimum. 29 C.F.R § 531.56. If the employee does

   not receive more than $30 a month in tips, the employer has an obligation paying the employee

   the federal minimum wage. Id.

72. Pursuant to § 531.56, specifically for tipped employees, employers may take a tip credit toward

   its minimum wage obligation for tipped employees equal to the difference between the required

   cash wage (which must be at least $2.13) and the federal minimum wage (currently $7.25).

   However, employers must provide oral or written notice to tipped employees of the use of the

   tip credit in advance. 29 C.F.R. § 531.59(b). Employers using the tip credit must be able to

   show that tipped employees receive at least the minimum wage when direct wages and the tip

   credit amount are combined. If the employee’s tips combined with the direct wages do not

   equal the minimum wage, the employer must make up the difference during the pay period.

73. Defendants have not provided Plaintiff and the Class oral or written notice of the use of the tip

   credit pursuant to 29 C.F.R. § 531.59(b). Accordingly, Defendants are obligated to ensure that

   Plaintiff and the Class earn the federal minimum wage of $7.25 per hour pursuant to 29 U.S.C.

   § 206(a).

74. Plaintiff and Class Members are covered employees under the definition of “employee” of the

   Fair Labor Standards Act of 1938.

75. Plaintiff and Class members are considered “tipped employees” under the definition of the Fair

   Labor Standard Act.



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76. Under his employment contract, Plaintiff Matias Rossello was to be paid an hourly rate of

   $7.25 per hour, plus an additional $1 for each delivery Matias Rossello made. Additionally,

   Defendants required Matias Rossello, as a condition of employment, to use his own vehicle to

   deliver the store products, and cover his own expenses associated with operating that vehicle.

77. Defendants do not, and have not ever, covered any maintenance of the employee delivery

   drivers’ vehicles, nor do Defendants reimburse the employee delivery drivers for any gasoline

   or other automobile expenses.

78. For each delivery Plaintiff Matias Rossello makes, Plaintiff receives only $1 in reimbursement.

   This $1 reimbursement rate does not increase or decrease depending on the mileage or distance

   the delivery covers. Even if Plaintiff were to drive ten miles round-trip for a delivery, Plaintiff

   would still receive the same $1 reimbursement.

79. As a condition of employment, employee delivery drivers are at all times required to have

   vehicles, and similarly that such vehicles meet the requirements that Defendants have

   established.

80. Defendants required Plaintiff and the Class to maintain and pay for safe, legally-operable, and

   insured automobiles when delivering pizza and other food items while working as employee

   delivery drivers.

81. As employee delivery drivers for Defendants, Plaintiff and the Class have incurred costs for

   gasoline, vehicle parts and fluids, repair and maintenance services, insurance, depreciation,

   and other expenses (collectively “automobile expenses”) while working for Defendants.

82. As employee delivery drivers for Defendants, Plaintiff and the Class were not reimbursed for

   their deliveries based upon the number of miles driven for each delivery. As employee delivery

   drivers for Defendants, Plaintiff and the Class were not reimbursed for any of their automobile



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   expenses incurred during their course of employment. Rather, Defendants only reimbursed

   Plaintiff and the Class $1 per delivery, no matter the distance driven, or the expense incurred

   by Plaintiff and the Class.

83. To date, the reimbursements given to Plaintiff and the Class for each delivery have not been

   reasonable approximations of either the actual mileage driven or the other automobile expenses

   incurred by Plaintiff and the Class in the course of performing their job duties as employee

   delivery drivers for Defendants.

84. To date, Plaintiff and the Class has incurred actual automobile expenses in the course of

   performing their job duties as employee delivery drivers for Defendants, and such expenses

   incurred have exceeded and continue to exceed the $1 per trip reimbursement provided by

   Defendants.

85. Defendants have failed, and continue to fail, to pay Plaintiff and the Class the required federal

   minimum wage of $7.25 per hour. Defendants require Plaintiff and the Class cover their own

   costs associated with gasoline and other vehicle expenses. While Defendants pay Plaintiff and

   the Class a base hourly rate, plus a $1 per delivery reimbursement, factoring together all of the

   expenses Plaintiff and the Class are required to cover, and deducting those expenses from the

   pay Plaintiff and the Class receive from Defendants, ultimately, Defendants pay Plaintiff and

   the Class below the federal minimum wage.

86. Taken together, when evaluating Plaintiff’s wage of $7.25 per hour, in addition to the $1 per

   delivery reimbursement rate he receives from Defendants, coupled with the costs associated

   with maintaining and operating his vehicle as required by Defendants, Defendants are

   drastically underpaying Plaintiff below the federal minimum wage in violation of the FLSA.




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87. Plaintiff’s experiences as an employee delivery driver for Defendants are typical of the

   experiences of the rest of the Class.

88. Defendants failed and continue to fail to pay Plaintiff and the Class an adequate mileage rate,

   gas reimbursement, or other method of covering vehicle expenses, or simply did not pay

   Plaintiff and the Class any amount at all. This failure results in Plaintiff and all other Class

   Members being paid at an hourly pay rate lower than the federally mandated minimum wage

   established under FLSA.

89. The amount of money Plaintiff and the Class receive in reimbursement for each delivery is

   vastly less than the costs and expenses associated with operating an automobile for business

   purposes. The $1 per delivery that each employee delivery driver receives from Defendants is

   drastically less than the IRS recommended mileage reimbursement rate. Plaintiff and the

   Class’s costs and expenses of maintaining and operating a vehicle far exceed the minimum

   wage and reimbursement rate provided to Plaintiff and the Class. Accordingly, Plaintiff and

   the Class, as employee delivery drivers, are paid less than minimum wage.

90. Defendants directly benefit from this failure to pay, as said failure requires Plaintiff and Class

   Members take money from their own weekly pay to cover mileage, gas, and other work-related

   automobile expenses. This puts the employee delivery driver not only in a disadvantage, but it

   goes as far as making each employee’s net pay well below the federal minimum hourly rate.

   Defendants are essentially offsetting their business costs onto the employee, making the

   employee responsible for the costs and expenses associated with the operation of Defendants’

   business.




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91. Defendants have previously and continue to currently pay Plaintiff and Class Members well

   below the minimum wage required by law and have not compensated Plaintiff and Class for

   any of the business-related automobile expenses incurred by Plaintiff and the Class.

92. Defendants have derived and continue to derive substantial benefits from this practice or

   custom of requiring employee delivery drivers to maintain, operate, and cover their own

   expenses for their own vehicles. Defendants therefor offset any costs of expenses associated

   with investing in purchasing company vehicles or paying for costs associated with automobile

   expenses. These substantial benefits conferred upon Defendants come at the detriment and

   expense of Plaintiff and the Class.

93. Defendants failure to properly compensate Plaintiff and the Class was willfully perpetrated<

   that is, defendants’ violation of the Fair Labor Standards Act was willful.

94. Accordingly, as a direct and proximate result of the illegal acts of the Defendants, Plaintiff and

   the Class have been harmed and suffered damages from Defendants failure to adequately pay

   Plaintiff and the Class at or above the minimum wage established under the Fair Labor

   Standards Act.

95. Defendants owe plaintiffs and the class the difference of what his net effective pay was, and

   the hourly rate he should have been paid. Upon information and belief, this amounts to over

   $250,000 for the class.

                                 COUNT II
 VIOLATIONS OF THE ANTI-KICK-BACK PROVISIONS OF THE FLSA, 29 C.F.R. §
                                    531.35
          Defendants’ Unlawful Employment Kick-back Requirements
                           (Against All Defendants)

96. Plaintiff incorporates by reference each and every preceding paragraph and allegation

   contained in this complaint as if fully copied and set forth at length herein.


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97. By requiring Plaintiff and the Class to maintain and operate their own vehicles as a condition

   of employment, without providing any realistic reimbursement to cover the associated costs,

   Defendants are profiting off of Plaintiff and the Class in the form a kick-back, forbidden by 29

   C.F.R. § 531.35.

98. 29 C.F.R. § 531.35 states:

               Whether in case or in facilities, “wages” cannot be considered to
               have been paid by the employer and received by the
               employee unless they are paid finally and unconditionally or “free
               and clear.” The wage requirements of the Act will not be met where
               the employee “kicks-back” directly or indirectly to the employer or
               to another person for the employer's benefit the whole or part of the
               wage delivered to the employee. This is true whether the “kick-
               back” is made in cash or in other than cash. For example, if it is a
               requirement of the employer that the employee must provide tools
               of the trade which will be used in or are specifically required for the
               performance of the employer's particular work, there would be a
               violation of the Act in any workweek when the cost of such tools
               purchased by the employee cuts into the minimum or overtime
               wages required to be paid him under the Act.

99. Defendants are in violation of the kick-back provisions of 29 C.F.R. § 531.35.

100.   Defendants require that Plaintiff and the Class maintain and operate their own vehicles in

   order to be employed by Defendants. Defendants require Plaintiff and the Class to cover all of

   their own automobile expenses.

101.   An automobile is a tool of the trade of a delivery driver, which is to be used in or

   specifically required by Defendants for the delivery of products in the course of employment.

102.    As Defendants require Plaintiff and the Class to maintain and operate their own vehicles,

   they are essentially putting the costs and expenses associated with delivery of the pizza on to

   the employee delivery driver.

103.   By requiring Plaintiff and the Class to maintain and operate their own vehicles, Defendants

   are requiring Plaintiff and the Class to “kick-back” directly or indirectly to Defendants for

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   Defendants’ benefit. Given that Plaintiff and the Class are not adequately compensated for

   their mileage and other costs and expenses associated with operating and maintaining a vehicle

   for business purposes, this benefit conferred directly on Defendants is derived in whole or in

   part from the wage delivered to the employee.

104.   Defendants violate 29 C.F.R. § 531.35 each workweek, as the costs and expenses

   associated with maintaining, operating, and driving their automobiles in the course of

   employment as delivery drivers cuts into the minimum or overtime wages required to be paid

   to them under the Act.

105.   Accordingly, as a direct and proximate result of the illegal acts of the Defendants, Plaintiff

   and the Class have been harmed and suffered damages from Defendants failure to adequately

   pay Plaintiff and the Class at or above the minimum wage established under the Fair Labor

   Standards Act, as well as directly benefiting from the kick-backs received in violation of 29

   C.F.R. § 531.35.

                                     COUNT III
                              UNJUST ENRICHMENT
        Defendants’ Unlawful Enrichment at the Expense of Plaintiff and the Class
                               (Against All Defendants)

106.   Plaintiff re-alleges and incorporates by reference the allegations contained in all previous

   paragraphs as if fully set forth herein.

107.   Plaintiff and Members of the Class conferred a tangible economic benefit upon Defendants

   by providing their personal vehicles for the operation of Defendants’ business.

108.   Additionally, Plaintiff and Members of the Class conferred a tangible economic benefit

   upon Defendants by themselves covering all of the automobile expenses associated with

   operation of Defendants’ business, including incurring costs for gasoline, vehicle parts and

   fluids, repair and maintenance services, insurance, depreciation, and other expenses.

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109.   Moreover, Plaintiff and the Class conferred a tangible economic benefit upon Defendants

   by Defendants refusal to adequately reimburse Plaintiff and the Class for their business-related

   automobile expenses, resulting in Defendants failure to pay Plaintiff and the Class minimum

   wage.

110.   Defendants had knowledge that this benefit was conferred upon it.

111.   As a direct and proximate result of Defendants’ wrongful acts or omissions, Defendants

   were unjustly enriched at the expense of the Plaintiff and the Class.

112.   Through its unfair acts and practices, Defendants have improperly obtained higher revenue

   margins and received less operational expenses by passing off the costs and expenses of

   product delivery onto Plaintiff and the Class, thereby failing to compensate Plaintiff and the

   Class at or above the federally mandated minimum wage.

113.   Defendants have been unjustly enriched at the expense of Plaintiff and the Class and their

   retention of this benefit under the circumstances would be inequitable.

114.   Plaintiff seeks an order requiring Defendants to make restitution to them and other

   Members of the Class.

                                     RELIEF REQUESTED

115.   WHEREFORE, Plaintiff and the Class respectfully prays this Honorable Court will grant

   the following relief:

           A. Finding this action satisfies the prerequisites for maintenance as a class action

              pursuant to Fed. R. Civ. P. 23(b)(2) and 23(b)(3), and applicable case law, as well

              as certifying the Class as defined herein;

           B. Appointment of Plaintiff as representative of the Class and their legal counsel as

              Class legal counsel;

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           C. Pursuant to Plaintiff’s causes of action, entering judgement awarding Plaintiff and

              all Members of the Class restitution and/or other equitable relief, including, but not

              limited to, restitutionary disgorgement of all profits and unjust enrichment that

              Defendants obtained from Plaintiff and the Class as a result of its unlawful business

              practices as described herein;

           D. Distribution of any moneys recovered on behalf of members of the Class via fluid

              recovery or cy press recovery where necessary and as applicable, to prevent

              Defendants from retaining the benefits of the wrongful conduct;

           E. Award the Plaintiff and Class Members compensatory and other damages for

              economic and non-economic damages identified herein, including all damages

              allowed by governing statutes; as well as Statutory pre-judgment and post-

              judgement interest;

           F. Award the Plaintiff and Class Members punitive damages as appropriate and as

              permitted by law;

           G. An order enjoining Defendants from continuing to violate the FLSA;

           H. An order enjoining Defendants from engaging in any form of retaliation against

              Plaintiff and Members of the Class for filing this litigation or for the bringing of

              administrative complaints regarding any matters addressed in this litigation;

           I. A judgment awarding Plaintiff and the Class their costs of this suit; including

              reasonable attorney’s fees pursuant to Code of Civil Procedure § 1021.5 and as

              otherwise permitted by statute; and pre and post-judgment interests;

           J. Provide for any other Relief this Court might deem fair, just, and equitable.

                                DEMAND FOR JURY TRIAL


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116.    Plaintiff hereby demands a jury trial on all issues stated in this action.


        WHEREFORE, it is respectfully requested that for the reasons stated above, this

Honorable Court certify the class as requested, grant the complaint as pleaded, enter

judgment in favor of the class in excess of $250,000.00, and award costs and attorneys’

fees.

        In San Juan, Puerto Rico, this 4th day of April, 2019.

        I HEREBY CERTIFY that on this same date, I uploaded a pdf version of this

document to the Court’s CM/ECF system, which will send notice of its filing

electronically to all parties of record, through their counsel of record.

                                                 Respectfully submitted,

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